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   7                        UNITED STATES BANKRUPTCY COURT
   8                                 DISTRICT OF ARIZONA
   9   In re:                                   Chapter 11
  10   POTENTIAL DYNAMIX, LLC,                  Case No. 2:11-bk-28944-DPC
  11                  Debtor.                   ORDER APPROVING FOURTH
                                                INTERIM APPLICATION FOR
  12                                            COMPENSATION OF FEES AND
                                                REIMBURSEMENT OF COSTS BY
  13                                            COUNSEL FOR THE OFFICIAL
                                                COMMITTEE OF UNSECURED
  14                                            CREDITORS
  15
  16         APPLICATION PERIOD: OCTOBER 3, 2014 THROUGH MAY 5, 2021
  17            Upon consideration of the Fourth Interim Application for Compensation of Fees
  18   and Reimbursement of Costs by Counsel for the Official Committee of Unsecured
  19   Creditors (“Application”) filed by Allen Barnes & Jones, PLC (“AB&J”) as counsel for
  20   The Official Committee of Unsecured Creditors (“Creditor Committee”), the Creditor
  21   Committee having reviewed and approved the Application, no objections thereto having
  22   been filed, and other good cause appearing,
  23            IT IS HEREBY ORDERED approving the Application on behalf of AB&J as
  24   the Committee’s counsel and allowing compensation of fees in this case in the amount
  25   of $20,918.00 and cost reimbursement of $207.32 for a total of $21,125.32.
  26   ///
       {00304113}
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   1           IT IS FURTHER ORDERED authorizing the Trustee, on behalf of the Debtor’s

   2   bankruptcy estate, to pay the aforesaid fees and costs as an allowed administrative

   3   expense, provided funds are available and such payment does not prejudice other

   4   administrative claims of the estate.

   5                               DATED AND SIGNED ABOVE

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